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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
OKLAHOMA LAW ENFORCEMENT
RETIREMENT SYSTEM, individually and on
behalf of all others similarly situated,

                                   Plaintiffs,
                 -against-                                                 18 CIVIL 7927 (KMW)

                                                                              JUDGMENT
PAPA JOHN’S INTERNATIONAL, INC.,
JOHN H. SCHNATTER, and STEVE M. RITCHIE,
                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion & Order dated February 3, 2021, Defendants' motions to dismiss the

SAC are GRANTED with prejudice.

Dated: New York, New York

          February 3, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
